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          UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT
                              OF WEST VIRGINIA
                                    CHARLESTON DIVISION


     Jonathan R., minor by Next                          )
                                                         )
     Friend Sarah DIXON, et. al.,                        )
                                                         )
                                                         )   Case No. 3:19-cv-00710
                                     Plaintiffs,         )
                                                         )
     v.                                                  )
                                                         )
     Jim JUSTICE, in his official capacity as
     the Governor of West Virginia, et al.,              )

                                     Defendants.

          PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

          West Virginia’s foster care system is in a state of chaos. The opioid epidemic toppled what

was already a collapsing system. The state’s foster care population skyrocketed 67 percent between

2013 and 2017, and by 2018, West Virginia’s Department of Health and Human Resources

(“DHHR”) led the nation in removals. Defendants institutionalize 71 percent of youth between the

ages of 12 and 17, send over 300 children to out-of-state facilities, and leave children in shelter

care, hotels, and DHHR offices. Defendants rely heavily on kinship placements, 20 percent of

which are unlicensed, but fail to vet, support and monitor those kinship homes. Defendants fail to

engage in effective permanency planning, leaving children in foster care for years and rendering

many legal orphans. In 2015, the Civil Rights Division of the United States Department of Justice

(“USDOJ”) launched an investigation into West Virginia’s system of care for children in need of

mental health services and found West Virginia was in violation of Title II of the Americans with

Disabilities Act (“ADA”) due to its widespread practice of institutionalizing children with

disabilities.


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       Disarray within DHHR only compounds these problems: Defendants maintain high

caseworker vacancy rates; employ caseworkers who are underqualified, undertrained, and carry

excessive caseloads; and fail to screen applicants for criminal backgrounds and drug use.

       By willfully disregarding the continuing failures of West Virginia’s child welfare system,

Defendants have jeopardized the safety and well-being of the 6,800 foster children in DHHR

custody.

       In light of these critical problems, Defendants have recently settled a five-year-old

complaint with the USDOJ, in an attempt to resolve the state’s aforementioned ADA violations,

and entered into an exceedingly weak, unenforceable agreement, under which Defendants have no

obligation to reduce the number of children placed in in-state residential facilities. Defendants also

have adopted a plan to change the way medical care is provided—Defendants’ faith in that plan is

exemplified by Defendant Jeremiah Samples’ remark that “doing anything is better than doing

nothing.”

       Defendants have ignored countless pleas for change, prompting Plaintiffs to bring suit. In

their Motion to Dismiss, Defendants once again attempt to skirt responsibility, claiming that this

Court lacks jurisdiction to hear Plaintiffs’ claims and compel Defendants to adequately care for

West Virginia foster children. See Defs’ Mem., ECF No. 18 (“ECF No. 18.”). Defendants further

attack each of Plaintiffs’ claims under Fed. R. Civ. P. 12(b)(6). But as countless federal courts

across the country have held, neither the Rooker-Feldman doctrine nor abstention principles

preclude foster care Plaintiffs from bringing federal class action claims challenging state executive

branch actors and agencies. Further, Plaintiffs’ Complaint sufficiently alleges Defendants’ violated

Plaintiffs’ rights under the First, Ninth, and Fourteenth Amendments by depriving Plaintiffs of the

opportunity to be placed in safe and secure placements and to maintain family relationships. See




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Compl., ECF No. 1 ( “ECF No. 1.”). Additionally, federal courts have consistently held foster

children have individually enforceable rights to case plans and to nationally acceptable placement

standards under the federal Adoption Assistance and Child Welfare Act of 1980 (“AACWA”).

Plaintiffs have also adequately pled Defendants violated the ADA and Section 504 of the

Rehabilitation Act by failing to provide services in the least restrictive and most integrated setting

and failing to offer reasonable accommodations and individualized services for disabled foster

youth. See id.

       Plaintiffs’ allegations demonstrate the serious need for the equitable relief, including

enjoining Defendants from carrying caseloads that exceed acceptable standards, unnecessarily

institutionalizing children, failing to assess and provide services to children in foster care, and

failing to engage in appropriate permanency planning. For the reasons set forth herein, the Court

should deny Defendants’ Motion to Dismiss in its entirety and allow Plaintiff Children’s claims to

proceed.

                                  FACTUAL BACKGROUND

       The Named Plaintiffs, through their Next Friends and on behalf of the proposed Class and

Subclasses they represent (collectively, “Plaintiffs” or “Plaintiff Children”), seek declaratory and

injunctive relief enjoining Defendants from violating federal law or infringing upon Plaintiffs’

rights under the United States Constitution or federal law. Plaintiffs allege a number of severe

deficiencies permeating the very system designed to protect them:

      Jonathan R. is 15 years old and has spent the last seven years in DHHR custody. He was
       abused by his birth parents and his adoptive parents. DHHR failed to investigate numerous
       complaints it received. DHHR initially placed Jonathan in a facility in Georgia and then
       moved him several times, including to another residential facility and a kinship placement,
       which DHHR failed to vet or provide supportive services. See ECF No. 1 ¶¶ 42-54.

      Anastasia M. is 11 years old and has been in foster care twice. DHHR shuffled her through
       seven placements, including emergency shelters, a detention center, and a dangerous out-


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     of-state facility. She now suffers from symptoms of attention-deficit/hyperactivity
     disorder, reactive attachment disorder, and other psychological issues. See id. at ¶¶ 55-65.

    Serena S. is an 11-year-old girl who has Down syndrome. Serena’s parents were sentenced
     to prison due to educational abuse. DHHR separated Serena from her siblings, failed to
     locate a special needs foster home, and placed her in multiple foster homes and a residential
     facility that has been the subject of criminal investigations. See id. at ¶¶ 66-75.

    Theo S. was born addicted to opioids, but DHHR did not remove him for several years. He
     is seven years old and has experienced 12 foster care placements. Theo is now living in an
     out-of-state institution where Theo frequently visits the nurse’s office due to injuries
     sustained from other residents and exhibits signs of depression. See id. at ¶¶ 76-101.

    Garrett M. is 17 years old and has been in foster care since 2012. DHHR has placed Garrett
     in group homes, residential centers, and a juvenile detention center, where he slept on a
     mattress on a cement floor in a locked cell. He is depressed and has made several suicide
     attempts. DHHR has over-medicated Garrett, failed to refer to him to appropriate services,
     and failed to prepare him for his transition out of foster care. See id. at ¶¶ 102-20.

    Gretchen C. is 15 years old and has been in foster care for over five years. She has lived in
     temporary shelters, four group homes, and an out-of-state institution. DHHR has ignored
     her requests for individual therapy, instead leaving her in a facility that engages in peer
     shaming and requires children to reap land with sharp farming tools. See id. at ¶¶ 121-36.

    Dennis C. is 16 years old and has been in foster care for over five years. As a likely result
     of shaken baby syndrome, Dennis was diagnosed with cerebral palsy. He has been in five
     foster homes and requires a therapeutic foster home. DHHR instead placed Dennis in a
     facility that has had reports of physical and sexual abuse. See id. at ¶¶ 137-51.

    Calvin, Chris, and Caroline K. entered foster care when they were babies and are now four,
     three, and two years old. DHHR placed them in a pre-adoptive home but delayed the
     adoption process, causing it to be dismissed for failure to prosecute. These young children
     have since moved through two additional homes. DHHR has failed to develop appropriate
     case plans for these young children. See id. at ¶¶ 152-63.

    Karter W. is 13 years old and has been in foster care for over three years. He has moved
     repeatedly but had only one foster home placement. DHHR has otherwise bounced Karter
     between shelters, residential facilities, hospitals, and, now, an out-of-state facility. At one
     point, Karter was prescribed 32 pills a day to control his behavior. See id. at ¶¶ 164-82.

    Ace L. is 12 years old and entered foster care in 2016 after his stepfather sexually and
     physically abused him. Ace is diagnosed with encopresis. Because of this, Ace has faced
     further abuse in his foster placements. DHHR has failed to provide him therapeutic services
     and has placed Ace in many foster homes, a psychiatric hospital, institutional and group
     home settings, and a temporary shelter, where he currently resides. See id. at ¶¶ 183-98.



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       Named Plaintiffs’ stories are illustrative of well-known, systematic issues within DHHR.

Defendants’ deliberate indifference to these dire circumstances expose all children in foster care

to harm, in violation of their federal and constitutional rights.

                                           ARGUMENT

I.     This Court Has Subject Matter Jurisdiction to Hear Plaintiffs’ Claims and Should
       Not Abstain from Exercising It.

       Plaintiffs do not, as Defendants assert, seek federal court review and oversight of West

Virginia’s state courts. Plaintiffs simply seek a constitutionally adequate child welfare system that

conforms with federal law. Accordingly, this Court has subject matter jurisdiction to hear Plaintiff

Children’s claims.

       A.      The Rooker-Feldman Doctrine is Inapplicable to this Case.

       The Rooker-Feldman doctrine prohibits federal courts from sitting “in direct review of state

court decisions.” D.C. Court of Appeals v. Feldman, 460 U.S. 462 (1983). A federal district court

lacks authority to review final judgments of state court judicial proceedings or hear claims that are

“inextricably intertwined” with state court decisions unless Congress has specifically authorized

it. See id.; Rooker v. Fidelity Trust Co., 263 U.S. 412 (1923). However, because Plaintiffs do not

ask this Court for “direct review” or, indeed, for any review at all, of state court decisions, Rooker-

Feldman does not bar this Court from exercising jurisdiction over Plaintiffs’ claims.

       The Supreme Court has confined Rooker-Feldman to “cases brought by state court losers

complaining of injuries caused by state-court judgments rendered before district court proceedings

commenced and inviting district court review and rejection of those judgments.” Exxon Mobil

Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005); see also Davani v. Va. DOT, 434

F.3d 712, 718 (4th Cir. 2006). “In other words, the doctrine applies where a party in effect seeks

to take an appeal of an unfavorable state-court decision to a lower federal court.” Adkins v.



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Rumsfeld, 464 F.3d 456, 463 (4th Cir. 2006) (internal quotations omitted); see also Vicks v. Ocwen

Loan Servicing, LLC, 676 Fed. Appx. 167, 168-69 (4th Cir. 2017).

        Because Plaintiffs do not challenge any state-court decisions, the Rooker-Feldman doctrine

does not apply. See Davani, 434 F.3d at 718. Courts deciding analogous claims brought by foster

children challenging statewide policies and practices consistently have rejected similar attempts

by defendants to deny jurisdiction. See S.W. v. City of New York, 46 F. Supp. 3d 176, 201-03

(E.D.N.Y. 2014) (holding Rooker-Feldman did not bar plaintiff children’s claims regarding agency

defendants’ failure to properly screen foster mother or monitor them while in her care); A v. Nutter,

737 F. Supp. 2d 341, 360 (E.D. Pa. 2010) (holding Rooker-Feldman did not bar plaintiff children

and their parents’ claims that defendants violated their Fourteenth Amendment rights due to their

unsafe child welfare policies); Kenny v. Perdue, 218 F.R.D. 277, 289 (holding Rooker-Feldman

did not deprive the court of jurisdiction to hear plaintiff children’s claims regarding systemic foster

care deficiencies) (N.D. Ga. 2003); Bonnie v. Bush, No. 00-2116, 2001 U.S. Dist. LEXIS 23600,

at *37-38 (S.D. Fla. Apr. 20, 2001) (holding Rooker-Feldman and abstention did not bar plaintiff

foster children’s federal claims against executive branch state officials). Moreover, “the mere fact

that a ruling favorable to the federal plaintiff may call into question the correctness of a state court

judgment has no bearing on the federal court’s jurisdiction over the plaintiff’s claims under

Rooker-Feldman.” Vicks, 676 Fed. Appx. at 169.

        Defendants’ Motion to Dismiss relies on a passel of outdated, pre-Exxon cases, which

embrace a more expansive application of the Rooker-Feldman doctrine than is currently allowed

for in the Fourth Circuit.1 Defendants’ misapply settled law, and argue that Plaintiffs’ broad



Berry v. South Carolina Dep’t of Soc. Servs., No. 95-2678, 1997 U.S. App. LEXIS 22647 (4th Cir. Aug. 25, 1997);
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Guess v. Bd. of Medical Examiners of State of N.C., 967 F.2d 998 (4th Cir. 1992); Czura v. Supreme Court of South
Carolina, 813 F.2d 644, 646 (4th Cir. 1987).


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challenges to the state’s practices are “inextricably intertwined” with state court adjudications.

ECF No. 18 at 8. Such misapplication has never been applied in a case like this one, raising

systemic challenges to foster practices. See Sam M. v. Chafee, 800 F. Supp. 2d 363, 383 (D.C. R.I.

2011) (children’s “requested remedy is limited to injunctive and prospective relief to address what

they allege to be systemic shortcomings of the Rhode Island child welfare system”—plaintiffs do

not “seek to reverse or modify existing judgments rendered by the Family Court”).

        The Fourth Circuit has unequivocally stated that if plaintiffs in federal court do not seek

review of state court judgments but instead present independent claims, as is the case here, the

federal court has jurisdiction to hear the claims. Thana v. Bd. of License Comm’rs for Charles

Cnty., Md., 827 F.3d 314, 320 (4th Cir. 2016). Indeed, West Virginia state courts issue a variety

of orders in individual child welfare cases.2 But Plaintiffs do not challenge any of those state court

orders. Plaintiffs assert separate claims, against the executive branch, challenging DHHR’s

systematic failures, and challenging executive action.

                i.        Plaintiffs’ Claims Challenge Executive Actions

        Because Plaintiffs challenge executive actions, not West Virginia circuit court judicial

decisions, the Rooker-Feldman doctrine is inapplicable. The Supreme Court and Fourth Circuit

have recognized that state administrative and executive actions, including state administrative

agency determinations, are not covered by the Rooker-Feldman doctrine. See Thana, 827 F.3d at

320 (citing Verizon Md. Inc. v. PSC, 535 U.S. 635 (2002)); see also Morgantown Energy Assocs.

v. PSC, No. 2:12-cv-6327, 2013 U.S. Dist. LEXIS 140220, at *42 (S.D. W. Va. Sept. 30, 2013).




2
 Inter alia, authorizing DHHR to take emergency custody of a child; authorizing placement of a child in an out-of-
home setting; determining whether a child is abused or neglected; terminating parental rights; and granting legal
guardianship or adoption. W.V. Code §§ 49-4-302; 49-4-404(a); 49-4-601(h)(i); 49-4-114(a); 49-4-112(b)(1).


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       Defendants mischaracterize and greatly understate the nature of Plaintiffs’ claims when

they assert the “gravamen of Plaintiffs’ Complaint is that the West Virginia foster children are in

inappropriate placements” that derive from state court orders. ECF No. 18 at 7-8. Plaintiffs

indisputably do not seek to alter state court judgments and have not pleaded or requested relief

concerning the abuse and neglect cases brought against their caregivers. Rather, Plaintiffs request

equitable relief regarding executive action under Defendants’ watch, including “[r]equir[ing] that

DHHR ensure that all children whose case plan identifies a need for a service…timely receive

those services…;” “[r]equir[ing] that DHHR shall ensure that all children who are placed in foster

care are placed in a safe home or facility and are adequately monitored in accordance with federal

standards;” and “[r]equir[ing] that DHHR ensure an adequate array of community-based

therapeutic services are available to children with disabilities”. ECF No. 1 ¶ 405. Because

Plaintiffs’ claims target systemic deficiencies and executive action—which do not call for review

of state court rulings—Defendants’ subject matter jurisdiction arguments must fail.

       Even if, as Defendants insist, Plaintiffs’ allegations are reduced to claims of inappropriate

placements, this Court still has subject matter jurisdiction. Pursuant to both federal and state law,

placement decisions are made by the executive branch, not the judiciary. For instance, according

to federal statute, a state child welfare agency must develop a case plan that includes “a discussion

of how the case plan is designed to achieve a safe placement for the child in the least restrictive

(most family-like) setting available…” 45 C.F.R. § 1356.21(g)(3). This provision later states

federal funding is “not available when a court orders a placement….” Id. (emphasis added).

Ultimate responsibility for placement decisions is vested, by statute, in the hands of West

Virginia’s child welfare agency—not West Virginia’s state courts. DHHR policies also spell out

placement requirements and require caseworkers to develop a placement plan. See DHHR CPS




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Policy § 7.10; DHHR Foster Care Policy § 2.6.2 (explaining the caseworker “participate[s] in the

actual placement….”); see also id. at § 2.1.2 (discussing DHHR’s selection of placement for foster

children and issues caseworkers must consider “when making a placement decision”) and § 5.5

(the caseworker develops a “post-termination placement plan”). Placement decisions are the role

of Defendant executive branch officials and caseworkers—not state courts. State courts merely

review those decisions.

         The cases cited by Defendants are inapplicable, as they concern challenges to West

Virginia circuit court judicial decisions with regard to individual children.3 This case, in contrast,

is about systemic issues. None of Defendants’ cited cases involve plaintiffs bringing federal

statutory and constitutional claims seeking systemic, injunctive relief, like Plaintiff Children here.

                 ii.       Plaintiffs Have Not had a Reasonable Opportunity to Raise Their
                           Federal Claims in State Court Proceedings.

         Defendants’ challenge to jurisdiction further fails because Plaintiffs do not have a

reasonable opportunity to raise their claims in their state court proceedings. Plaintiffs abuse or

neglect cases are not appropriate proceedings in which to litigate complex, class action claims

related to Defendants’ systematic failings, and therefore are no substitute for the federal

jurisdiction sought here. See, e.g., LaShawn A. v. Kelly, 990 F.2d 1319, 1322-23 (D.C. Cir. 1993)

(“Neglect proceedings are designed to focus on the special problems surrounding the neglect or




3
  See Stratton v. Mecklenburg Cty. Dep’t of Soc. Servs., 521 Fed. App’x 278 (4th Cir. 2013) (termination of plaintiff
parents’ parental rights and custodial issues regarding their children were resolved by North Carolina courts and
barred by Rooker-Feldman); Duby v. Moran, 901 F. Supp. 215 (S.D. W. Va. 1995) (district court lacked subject
matter jurisdiction to hear the plaintiff mother’s action against DHHR employees seeking the return and custody of
her son, as plaintiff was “essentially…asking the [c]ourt to review and enjoin the state court judgment”); Stewart v.
Logan Cty. Dep’t of Health and Human Servs., No. 2:12-cv-06644, 2013 U.S. Dist. LEXIS 10192, at *6-9 (S.D. W.
Va. July 22, 2013) (involving a direct challenge to the validity of the circuit court’s interlocutory orders concerning
the removal of plaintiffs’ children); Tacza v. Martin, No. 2:18-cv-01330, 2019 U.S. Dist. LEXIS 139909, at *5-7
(S.D. W. Va. Aug. 19, 2019) (finding “the state court judgment was the source of the plaintiff’s harm”).


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abuse of a child by his or her parent…. [T]hese proceedings are not suitable arenas in which to

grapple with broad issues external to the parent-child relationship….”).

       Here, Plaintiffs’ claims relate to systematic issues in West Virginia’s foster care system.

Plaintiffs do not challenge circuit court decisions, for example, that children who are in imminent

danger be removed from their homes. Nor do Plaintiffs challenge circuit court decisions regarding

whether DHHR made reasonable efforts to preserve the family. Nor are Plaintiffs “losers” who are

challenging circuit court orders approving case plans in connection with circuit court proceedings.

       Indeed, while West Virginia circuit courts might make orders authorizing out-of-home

placement generally, they do not make orders regarding whether DHHR maintains a sufficient

placement array. Moreover, DHHR, not the judiciary, is responsible for “the selection of the

placement resource (relative home, foster/adoptive home, group home, residential facility, or

institution).” DHHR Foster Care Policy § 2.1.2. Similarly, circuit courts do not enter orders

regarding caseworker caseloads, the quality of caseworker training, or caseworker qualifications.

Nor do they enter orders requiring Defendants to properly vet and oversee the state’s foster care

placements.

       Because Plaintiffs challenge executive branch action, not the results of West Virginia

judicial proceedings, and Plaintiffs do not have the opportunity to raise their claims seeking class-

wide relief during those state court proceedings, the Rooker-Feldman doctrine is inapplicable. As

such, Defendants’ jurisdictional argument fails.

       B.      This Court Should Not Abstain From Hearing Plaintiffs’ Claims

       Defendants also argue this Court should abstain from hearing plaintiffs’ claims. However,

a long line of cases has ruled otherwise. See, e.g., Olivia Y. ex rel. Johnson v. Barbour, 351 F.

Supp. 2d 543, 570 (S.D. Miss. 2004) (stating the court would be “hard-pressed to conclude that




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any specific relief plaintiffs seek in this action would necessarily interfere with ongoing youth

court proceedings”); see also M.D. v. Perry, 799 F. Supp. 2d 712, 726 (S.D. Tex. 2011) (denying

motion to dismiss based upon Younger abstention); Kenny A. v. Perdue, 218 F.R.D. 277, 286 (N.D.

Ga. 2003) (no interference because “the declaratory and injunctive relief plaintiffs seek is not

directed and their [periodic juvenile court] review hearings, or at Georgia’s juvenile courts,

juvenile court judges, or juvenile court personnel. Rather, plaintiffs seek relief directed solely at

executive branch defendants to remedy their alleged failures as plaintiffs’ custodians”); Nicholson

v. Williams, 203 F. Supp. 2d 153, 231 (E.D.N.Y. 2002) (declining to abstain pursuant to Younger

in case challenging child welfare agency’s policy of finding children neglected where parent was

victim of domestic violence and finding no interference where “the injunctive relief this court

grants targets general [agency] practices”); Brian A. ex rel. Brooks v. Sundquist, 149 F. Supp. 2d

941, 957 (M.D. Tenn. 2000) (observing “nothing about this litigation seeks to interfere with or

enjoin” ongoing state family court proceedings); L.H. v. Jamieson, 643 F.2d 1351, 1354 (9th Cir.

1981) (Younger abstention unwarranted because relief sought did not “have the wholly disruptive

consequences associated with enjoining a state judicial proceeding”); Tinsley v. McKay, 156 F.

Supp. 3d 1024, 1043-44 (D. Ariz. 2015) (Younger abstention unwarranted where proposed relief

was not directly aimed at the functioning of juvenile courts).

       As such, this Court should not abstain from exercising jurisdiction pursuant to Younger v.

Harris, 401 U.S. 37 (1971). Younger established the principle that federal courts should not

intervene in state court proceedings. But abstention is “an extraordinary and narrow exception to

the duty of a District Court to adjudicate a controversy properly before it.” Colorado River Water

Conservation Dist. v. United States, 424 U.S. 800, 813 (1976); see also Sprint Communs., Inc. v.

Jacobs, 571 U.S. 69, 73 (2013) (stressing “[circumstances fitting within the Younger doctrine…are




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‘exceptional’). The Fourth Circuit adopted the Supreme Court’s view that “[a]bstention is the

exception, not the rule.” Teleco Communications, Inc. v. Carbaugh, 885 F.2d 1225, 1228 (4th Cir.

1989). Moreover, parallel state-court proceedings do not detract from federal courts’ obligation.

See Sprint, 571 U.S. at 77.

       Federal courts have a “virtually unflagging obligation” to exercise the jurisdiction given

them. Colorado River, 424 U.S. at 817. As such, the Supreme Court has identified only three

“exceptional circumstances” warranting abstention, none of which is present here. See Sprint, 571

U.S. at 78 (the three exceptional circumstances involve “intrusion into ongoing state criminal

prosecutions,” “certain civil enforcement proceedings,” and “pending civil proceedings involving

certain orders uniquely in furtherance of the state courts’ ability to perform their judicial functions”

[internal quotations omitted]). Defendants do not allege any of these exceptional circumstances is

present, and, instead, skip ahead to the factors laid out in Middlesex Cty. Ethics Comm. V. Garden

State Bar Ass’n, 457 U.S. 423 (1983).

       Under Middlesex, abstention is required where (1) there is an ongoing state judicial

proceeding that (2) implicates important, substantial, or vital state interests, and (3) provides

adequate opportunity to raise constitutional challenges. Id.; see also U.S. v. Bynum, 83 Fed. Appx.

533, 534 (4th Cir. 2003); Hazbun v. Rodriguez, 52 Fed. Appx. 207, 208 (4th Cir. 2002). But 30

years later, in Sprint, the Supreme Court clarified that these are merely “additional factors” to be

considered if a proceeding fits into one of the three “exceptional circumstances” laid out above—

they are not dispositive. 571 U.S. at 81; see also Malhan v. Sec’y United States Dep’t of State, 938

F.3d 453, 462 (3d Cir. 2019) (noting “Sprint narrowed Younger’s domain…the three Middlesex

conditions are no longer the test for Younger abstention.”); Peters v. Neroni, 598 Fed. Appx. 797,




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798 (2d Cir. 2015) (explaining the Supreme Court, in determining Younger abstention, rejected

the Middlesex three-part test “in favor of a categorical approach”).4

         However, even if this case did fit into one of the three exceptional circumstances—which

it does not—Younger does not apply because the three Middlesex factors are not met.

         First, Plaintiffs are not asking this Court to interfere with or enjoin their ongoing state

judicial proceedings. This in itself dispenses with Defendants’ abstention argument. Nor are

Plaintiffs seeking the kind of “anticipatory interference” or “piecemeal interruptions of state

proceedings” directed at “state judicial officers” described in O’Shea v. Littleton, 414 U.S. 488

(1974). Plaintiffs seek a judicial declaration and injunction, directing Defendants—West Virginia

executive branch agencies and officials—to comply with federal law and the Constitution. See

supra Section I.A.i.

         O’Shea is an outgrowth of Younger and is inapplicable to Plaintiffs’ claims. Under O’Shea,

a federal court may not issue an injunction which would result in an “ongoing federal audit” of

state court proceedings that would “indirectly accomplish the kinds of interference that

Younger…and related cases sought to prevent.” O’Shea, 414 U.S. at 500. The interference with

state court proceedings must be explicit in order to warrant O’Shea abstention. In O’Shea,

plaintiffs alleged widespread race discrimination in the administration of state court criminal

prosecutions, and sought a federal injunction limiting the state courts’ discretion to set bail and

sentence criminals. Id. at 491-92. The Supreme Court found the federal injunction was “aimed at

controlling or preventing the occurrence of specific events that might take place in the course of

future criminal trials.” Id. at 500. Because the injunction “contemplate[d] interruption of state

proceedings to adjudicate assertions of noncompliance” with a federal order, it amounted to


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  Moore v. Simms, 442 U.S. 415 (1979), is simply a federal court effort to make a collateral attack on a decision in a
state court proceeding; it was unsuccessful and the federal court abstained.


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“nothing less than an ongoing federal audit of state proceedings” that would be “intrusive and

unworkable.” Id.

       The relief Plaintiffs seek is directed at state-level executive agencies, not state courts, and

therefore would not result in an “ongoing federal audit” of state court proceedings. See Tinsley,

156 F. Supp. 3d at 1043 (declining to abstain under O’Shea because “although juvenile courts play

a significant role in overseeing the care of [foster] children…the courts are not involved in

adjudicating and remedying the types of claims raised here”).

       Here, Plaintiffs are not asking the Court to issue any injunction that would directly or

indirectly interrupt any West Virginia circuit court proceeding. Defendants misconstrue Plaintiffs’

requested relief by suggesting, for example, that the neutral monitor who might ultimately be

appointed to monitor compliance with any system-wide injunction would simultaneously be

reviewing, modifying, and approving plans for individual children. ECF No. 18 at 11. That is

incorrect. It is axiomatic that federal courts may and do appoint monitors or special masters to

ensure that state officials comply with federal remedial orders without running afoul of O’Shea.

See Sukumar v. Direct Focus, Inc., 349 Fed. Appx. 163, 165 (citing In re Hanford Nuclear

Reservation Litig., 292 F.3d 1124, 1138 (9th Cir. 2002) (“The district court has discretion to

appoint a special master and to decide the extent of his duties.”); Hook v. Ariz. Dep’t of

Corrections, 107 F.3d 1397 (9th Cir. 1997) (district court did not err in declining to modify an

injunction appointing a special master when doing so was necessary to uphold prisoners’

constitutional rights); M.D. v. Abbott, 152 F. Supp. 3d 684, 823-24 (S.D. Tex. 2015) (appointing

special master to help “craft the [foster care system] reforms and oversee their implementation”).

       Second, Plaintiffs could not have raised these constitutional claims in their individual

circuit court proceedings. See supra Section I.A.ii. Courts must consider not only whether it was




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possible for the plaintiffs to raise their federal claims in the state proceeding, but also whether the

“state proceeding is an inadequate or inappropriate forum for pursuing [those] claims.” LaShawn,

990 F.2d at 1322-23. Courts have repeatedly held the state court system is an inadequate forum for

class-action plaintiffs to present a challenge to a state’s foster care system. See id. (family court

proceedings are not appropriate forums for a “multi-faceted class-action challenge to the District

of Columbia’s administration of its entire foster-care system”). Indeed, state proceedings address

issues involving the care of a child by his or her parent, and “are not suitable arenas in which to

grapple with broad issues external to the parent-child relationship.” Id. West Virginia circuits

courts are tasked with adjudicating questions of family law, not with crafting broad-based

injunctive relief concerning an executive agency. See id. (family courts do not afford plaintiffs an

adequate opportunity to seek relief for the systematic failure of the foster care system).

         Defendants also assert Plaintiffs can raise their federal claims in West Virginia circuit

courts via their appointed guardian ad litems. See ECF No. 18 at 13. But the duty of guardian ad

litems in a child abuse and neglect proceeding is “to represent the best interests of the child.” W.

Va. Code Appendix A § A. This form of advocacy is distinct from advocacy for a child’s federal

rights, as required here. Tellingly, Defendants fail to point to a single West Virginia case in which

a guardian ad litem asserted violations of a child’s federal rights. See ECF No. 18 at 13.5

         Third, there is a significant need for federal equitable relief because the safety and welfare

of West Virginia’s foster children are at stake. See Nicolson, 203 F. Supp. 2d at 164, 232. This is




5
  See In re Scottie D., 406 S.E.2d 214 (W. Va. 1991) (guardian ad litem sought review of order concluding that
father had not neglected or abused his children); In re K.L., 826 S.E.2d 671 (W. Va. 2019) (guardian ad litem and
others appealed circuit court order awarding custody of children to their aunt and uncle); In re S.W., 779 S.E.2d 577
(W. Va. 2015) (guardian ad litem and grandparents appealed order terminating grandparents’ legal guardianship of
grandchild); In re Elizabeth F., 696 S.E.2d 296 (W. Va. 2010) (guardian ad litem appealed preference given to
grandparents to adopt their grandchildren); In re Renae Ebony W., 452 S.E.2d 737 (W. Va. 1994) (guardian ad litem
appealed judgment ordering return of child to the parents’ custody for a three-month improvement period).


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especially the case where the parties from whom Plaintiffs seek protecting are the state agencies

and officials charged with caring for them.

        Finally, the Defendants rely on inapposite case law that should not guide this Court’s

abstention determination. 31 Foster Children v. Bush, 329 F.3d 1255 (11th Cir. 2003), for instance,

is easily distinguished; plaintiffs there sought a federal panel that would have “authority to

implement a systemwide plan to revamp and reform dependency proceedings in Florida.” Id. at

1278-79. No such federal interference is sought here. See Kenny A. ex rel. Winn, 218 F.R.D. at

287-88 (finding 31 Foster Children inapplicable where “plaintiffs do not ask the Court to make

individualized determinations with respect to particular foster children” and instead “seek relief

mandating, on a system-wide basis, that State Defendants institute reforms to ensure that deprived

children’s constitutional and statutory rights are not violated” and noting “the relief requested in

31 Foster Children went beyond what is sought here”).

        Moreover, 31 Foster Children is no longer good law. That court did what the Supreme

Court held ten years later in Sprint Communications is forbidden: it applied the Middlesex factors

without first determining whether any of the three exceptions applied. The same is true of Berry v.

South Carolina Dep’t of Social Servs., No. 95-2678, 1997 U.S. App. LEXIS 22647, at *11 (4th

Cir. Aug. 25, 1997) and Suggs v. Brannon, 804 F.2d 274 (4th Cir. 1986).

        For the foregoing reasons, the system-wide relief requested will in no way interfere with

any of the ongoing child abuse and neglect proceedings, and abstention is not warranted.

II.     PLAINTIFFS HAVE SUFFICIENTLY PLEADED THEIR CONSTITUTIONAL
        AND STATUTORY CLAIMS

        “[T]o survive a motion to dismiss under Rule 12(b)(6), a complaint need only allege facts

which, if true, state a claim to relief that is plausible on its face.” Owens v. Balt. City State's Attys.

Office, 767 F.3d 379, 403 (4th Cir. 2014). “A plaintiff fails to state a claim only when he offers



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‘labels and conclusions’ or formulaically recites the elements of his…cause of action.” Id. “[T]he

Court must accept as true all of the factual allegations contained in the complaint” and “draw all

reasonable factual inferences from those facts in the plaintiff’s favor.” Ali v. Raleigh Cty., No.

5:17-cv-03386, 2018 U.S. Dist. LEXIS 52733, at *10 (S.D. W. Va. Mar. 29, 2018). “[T]he issue

is not whether a plaintiff will ultimately prevail, but whether the claimant is entitled to offer

evidence to support the claims he or she makes.” Brown v. Mason Cty. Comm'n, No. 3:18-1496,

2019 U.S. Dist. LEXIS 210003, at *7 (S.D. W. Va. Dec. 5, 2019). “Finally, we bear in mind that

a complaint is to be construed liberally so as to do substantial justice.” Wright v. North Carolina,

787 F.3d 256, 263 (4th Cir. 2015); see also Edwards v. City of Goldsboro, 178 F.3d 231, 244 (4th

Cir. 1999) (“when, as here, a Rule 12(b)(6) motion is testing the sufficiency of a civil rights

complaint, we must be especially solicitous of the wrongs alleged”).

         A.       Defendants’ Child Welfare Policies and Practices Violate Plaintiff Children’s
                  Constitutional Rights

         Defendants have proven themselves incapable of providing protection to children in their

custody and care. Defendants’ Motion to Dismiss further attempts to derogate those children’s

constitutional protections. Courts in the Fourth Circuit and across the country have recognized that

deficient and inadequate child welfare systems implicate the constitutional rights of foster

children.6 But according to Defendants, West Virginia foster children are constitutionally entitled

to no more than their “basic human needs”, like food, clothing, and shelter. See ECF No. 18 at 16.

Defendants’ position is regressive, outdated, and ultimately, unsupported. Plaintiffs do not seek an


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 See, e.g. Marisol A. by Forbes v. Giuliani, 929 F. Supp. 662, 675 (S.D.N.Y. 1996) (“tak[ing] a broad view of the
concept of harm in the context of plaintiffs' substantive due process claims”, finding “custodial plaintiffs have a
substantive due process right to be free from unreasonable and unnecessary intrusions into their emotional well-
being”); Brian A. by Brooks v. Sundquist, 149 F. Supp. 2d 941, 954 (M.D. Tenn. 2000); Olivia Y. v. Barbour, 351 F.
Supp. 2d 543, 556 (S.D. Miss. 2004) (“plaintiffs' pleading is sufficient to allege a violation of their substantive due
process right to adequate care and treatment while in state custody”); Connor B. v. Patrick, 771 F. Supp. 2d 142, 161
(D. Mass. 2011).



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“aspirational” child welfare system, see ECF No. 18 at 14, but merely a constitutionally adequate

one. See M.D. v. Abbott, 152 F. Supp. 3d 684 (S.D. Tex. 2015) (explaining foster children have

the constitutional right to “personal security and reasonably safe living conditions” and the right

to be free from unreasonable risk of harm, which includes protection from both psychological and

physical abuse), aff’d in part, 907 F.3d 237 (5th Cir. 2018). Plaintiffs do not seek protection from

violence from “private third parties”, see ECF No. 18 at 15, but from the State of West Virginia

itself. Accepting the allegations in Plaintiffs’ Complaint as true, Plaintiffs have adequately alleged

that Defendants’ policies and practices jeopardize the safety and well-being of children in their

custody and care, in violation of the children’s rights under the Constitution.

              i.       Defendants Have Violated Plaintiffs’ Substantive Due Process Rights
                       Under the Fourteenth Amendment

       “Section 1983 provides a private cause of action for the deprivation of rights, under color

of state law, secured by the Constitution and laws of the United States.” Brown v. Mason Cty.

Comm'n, No. 3:18-1496, 2019 U.S. Dist. LEXIS 210003, at *10-11 (S.D. W. Va. Dec. 5, 2019).

“A federal civil rights claim based upon § 1983 has two essential elements: A plaintiff must allege

the violation of a right secured by the Constitution and laws of the United States, and must show

that the alleged deprivation was committed by a person acting under color of state law.” Crosby v.

City of Gastonia, 635 F.3d 634, 639 (4th Cir. 2011). The Fourth Circuit has categorically

confirmed that “when a state involuntarily removes a child from her home, thereby taking the child

into its custody and care, the state has taken an affirmative act to restrain the child's liberty,

triggering the protections of the Due Process Clause”. Doe v. S.C. Dep't of Soc. Servs., 597 F.3d

163, 175 (4th Cir. 2010); see also Pinder v. Johnson, 54 F.3d 1169, 1174 (4th Cir. 1995) (“The

specific source of an affirmative duty to protect…is the custodial nature of a ‘special

relationship.’”). While ordinarily, violative government action “encompasses only the most



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egregious official conduct, namely that which ‘shocks the conscience’…a lower level of

culpability may amount to a substantive due process violation in those situations where the

government is required to take care of those who have already been deprived of their liberty”.

Slaughter v. Mayor of Balt., 682 F.3d 317, 321 (4th Cir. 2012). “In those circumstances, the Court

has held that the government’s deliberate indifference to the care of persons in its custody can

shock the conscience for purposes of finding a substantive due process violation.” Slaughter v.

Mayor of Balt., 682 F.3d 317, 321 (4th Cir. 2012). Put another way, “where it is alleged and the

proof shows that the state officials were deliberately indifferent to the welfare of the child, liability

may be imposed.” Doe, 597 F.3d at 175.

        Defendants, unsurprisingly, insist their constitutional responsibilities begin and end at the

bare minimum: that they need only provide West Virginia children removed from their homes and

placed in state care with “basic human needs”. See ECF No. 18 at 16. It is a stubborn assertion that

requires ignoring—as Defendants do—the last thirty years of child welfare jurisprudence,

including the ever-growing precedent set by courts across the country recognizing the

constitutional implications of child welfare policies and practices that jeopardize foster children’s

safety and well-being. Defendants themselves admit that “the number of children in foster care in

West Virginia has increased by a staggering 80 percent” between 2010 and 2017, see ECF No. 18

at 1. And yet, Defendants rely almost exclusively on case law from the 1980s and 1990s to evade

their legal responsibilities to those children. See id. at 14-20. Defendants cannot have it both ways.

As recent decisions in the Fourth Circuit and beyond affirm, and as Plaintiffs have alleged, child

welfare policies and practices that place children at risk of harm, in deliberate indifference to their

safety and well-being, violate those children’s constitutional rights.




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       The Fourteenth Amendment’s due process clause “provides heightened protection against

government interference with certain fundamental rights and liberty interests” and operates “to

protect the people from the State”. Doe, 597 F.3d at 170. The plaintiff in Doe alleged violations of

such rights when she was involuntarily removed from her home and placed in foster care settings

with her brother, who the state knew to be sexually abusing her. See id. at 168. The Fourth Circuit

found the “affirmative act” of removing a child from his or her home and taking the child into state

custody and care “trigger[ed] the protections of the Due Process clause”, imposing responsibilities

“for the child’s safety and general well-being…includ[ing] a duty not to make a foster care

placement that is deliberately indifferent to the child’s right to personal safety and security”. Id. at

175.

       Other circuit courts, consistent with the Fourth Circuit’s finding in Doe, have elaborated

on the substantive rights of children in a “special relationship” with the state. The Fifth Circuit, for

instance, recently found that defendants had violated foster children’s “substantive right to

personal security and reasonably safe living conditions”, including the “right to be free from

certain forms of psychological harm”, through policies and practices that “cause[d] all [foster]

children to be exposed to a serious risk of physical and psychological harm”. M.D. v. Abbott, 907

F.3d 237, 264 (5th Cir. 2018); see also Olivia Y., 351 F. Supp. 2d at 556 (denying motion to dismiss

constitutional claims because plaintiffs had sufficiently alleged “a violation of their substantive

due process right to adequate care and treatment while in state custody”). The Seventh Circuit

similarly held—in a case cited by Defendants—that “the Constitution requires the responsible state

officials to take steps to prevent children in state institutions from deteriorating physically or

psychologically.” K.H. v. Morgan, 914 F.2d 846, 851 (7th Cir. 1990). The Seventh Circuit only

“rejected substantive due process claims”, as Defendants assert, see ECF No. 18 at 17, for




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damages: however, “some or perhaps even all of the defendants may have violated K.H.’s

constitutional rights” by “formulat[ing] and approv[ing] the departmental policies” that caused

“mindless shuttling of the Department’s wards” between placements. Id. at 849-50.

         Despite clear directives from the Fourth Circuit and beyond, however, Defendants maintain

their constitutional obligations are limited to “the narrow band of ‘basic human needs.’” ECF No.

18 at 16. Defendants reach that mistaken conclusion by misappropriating the Supreme Court’s

“simple” observation in Deshaney that “when the State by the affirmative exercise of its power so

restrains an individual’s liberty that it renders him unable to care for himself, and at the same time

fails to provide for his basic human needs—e.g., food, clothing, shelter, medical care, and

reasonable safety—it transgresses the substantive limits on state action set by the Eighth

Amendment and the Due Process Clause.” Deshaney v. Winnebago Cty. Dep't of Soc. Servs., 489

U.S. 189, 200 (1989). Defendants, mistakenly and improperly, convert the floor of constitutional

protection into its ceiling—and then call for dismissal, because “Plaintiffs’ Complaint does not

allege that they have been deprived of ‘basic human needs’.” ECF No. 18 at 16.

         That is not the law. Defendants’ misunderstanding of the law is obvious from their

argument, which depends on outdated, unexamined case law, see ECF No. 18 at 17-18, including

inapposite dicta from an immigration case involving the detention of unaccompanied alien minors.

See Reno v. Flores, 507 U.S. 292 (1993).7 The cases presented by Defendants are indeed more a

time capsule. See ECF No. 18 at 17-18. None, of course, contemplate the Fourth Circuit’s 2010

holding in Doe, let alone interpret it. Several further stand for inapposite propositions, rejecting

claims for “a stable foster-home environment” or “placement stability” that Plaintiffs do not make.



7
 See also Kovacic v. Cuyahoga Cty. Dep't of Children & Family Servs., 809 F. Supp. 2d 754, 775-76 (N.D. Ohio
2011) (“The Flores case has no application in the context of removal of children from their parents or custodial
guardians.”) (emphasis in original).


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See ECF No. 18 at 17-18. That Defendants must rely almost exclusively on decades-old cases

making unrelated conclusions speaks to the strength of their underlying position.

       The facts alleged in Plaintiffs’ Complaint, taken as true, demonstrate Defendants’ policies

and practices toward children in their care systematically evinces deliberate indifference to their

safety and general well-being. Defendants regularly place foster children in residential treatment

facilities publicly accused of, and criminally investigated for, child molestation and other abuses

of children. ECF No. 1 ¶ 63, 73, 150. Defendants place foster children who have never been

adjudicated as delinquents in residential treatment facilities housing violent juvenile offenders,

where children are made to perform manual labor. Id. at ¶ 127-130. Defendants place young,

vulnerable children in institutional settings full of older children. Id. at ¶ 95, 108-109. Defendants

place victims of child sex abuse in residential programs meant for sex offenders. Id. at ¶ 111, 115.

Defendants place children in abusive foster homes, where children are confined to the basement

or “whooped” for displaying disabilities, and fail to revoke licenses for such homes. Id. at ¶ 168-

170, 185. Defendants routinely place children in kinship homes that are not properly vetted, id. at

¶ 52, 70, and leave children in emergency shelters for extended periods of time, shuttling them

from shelter to shelter, id. at ¶ 61, 125, 172, 195.

       As alleged in Plaintiffs’ Complaint, Defendants’ conduct rises above mere “negligence” or

“carelessness”, constituting deliberate indifference to the safety, security, and well-being of the

children in their custody and care. See Slaughter, 682 F.3d at 321 (“the government’s deliberate

indifference to the care of persons in its custody can shock the conscience for purposes of finding

a substantive due process violation”); Doe, 597 F.3d at 175 (deliberate indifference met where

“defendants were plainly placed on notice of a danger and chose to ignore the danger

notwithstanding the notice”). Plaintiffs’ Complaint contains allegations of the extreme risks and




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severe harms children in the West Virginia foster care system are routinely exposed to as a result

of Defendants’ systematic and deliberate indifference to their safety and well-being. Defendants’

practice, as Plaintiffs have alleged, of placing foster children in inadequately investigated kinship

homes results in systemic, not isolated, harms. Defendants’ practice of placing foster children in

inappropriate institutional settings, similarly, results in systemic, not isolated, harms. Defendants’

deliberate indifference is not contained to a single child, or even only to the Named Plaintiffs in

this action, but indeed results in constitutional harm to every child in West Virginia’s foster care

system.

       Taken as true, Plaintiffs’ allegations clearly demonstrate Defendants’ policies and practices

are deliberately indifferent to Plaintiffs’ constitutional rights to safety, security, and general well-

being. Plaintiffs’ allegations are not simply a matter of “sound policy”, as Defendants blithely

assert. See ECF No. 18 at 16. They are a matter of dire constitutional harm affecting all children

in the West Virginia foster care system.

       Defendants make a second but similarly outdated argument that constitutionally, they must

“provide only the ‘minimally adequate care and treatment’ required to assure personal safety”.

ECF No. 18 at 18. Again, this argument plucks cases exclusively from the 1980s and 1990s, and

again, the propositions are inapposite. Defendants cite a New York state court case, for instance,

that rejects “any substantive due process right to monetary redress for the defendants’ alleged

failure to provide the array of social services”, while noting that “this Court has never had occasion

to deal with the contours of the substantive component of the Due Process Clause in the context

of a child welfare case”. See Mark G. v. Sabol, 93 N.Y.2d 710, 726 (1999) (emphasis added). But

Defendants fail to cite a much more relevant holding from New York federal court: that foster

children “have a substantive due process right to be free from unreasonable and unnecessary




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intrusions into their emotional well-being”, and that “the right to be free from harm encompasses

the right alleged by plaintiffs to appropriate conditions and duration of foster care.” Marisol A. by

Forbes, 929 F. Supp. at 676. Defendants’ suggestion that “[o]nly two of the 17 due process ‘rights’

that the Plaintiffs assert even arguably relate to the ‘basic human need’ of physical safety” is

rebuked by Defendants’ own authorities. ECF No. 18 at 18; see B.H. v. Johnson, 715 F. Supp.

1387, 1395 (N.D. Ill. 1989) (“[W]e adopt [the] holding that a child who is in the state’s custody

has a substantive due process right to be free from unreasonable and unnecessary intrusions on

both its physical and emotional well-being. Our conclusion is grounded in common sense: A

child’s physical and emotional well-being are equally important. Children are by their nature in a

developmental phase of their lives and their exposure to traumatic experiences can have an

indelible effect upon their emotional and psychological development and cause more lasting

damage than many strictly physical injuries.”).

         Defendants ultimately overlook the clear evolution of child welfare jurisprudence towards

more robust constitutional protections for foster children alleging statewide policies and practices

that place them at risk of harm. Since 1989, when the Supreme Court decided Deshaney, courts

across the country have denied motions seeking dismissal of foster children’s constitutional claims,

finding that plaintiff-children had adequately alleged constitutional violations stemming from

defendants’ policies and practices.8 This evolution appropriately coincides with the progression of

child welfare standards and challenges—as Defendants themselves admit, see ECF No. 18 at 1.


8
 See, e.g. Marisol A. by Forbes v. Giuliani, 929 F. Supp. 662, 675 (S.D.N.Y. 1996) (“tak[ing] a broad view of the
concept of harm in the context of plaintiffs' substantive due process claims”, finding “custodial plaintiffs have a
substantive due process right to be free from unreasonable and unnecessary intrusions into their emotional well-
being”); Brian A. by Brooks v. Sundquist, 149 F. Supp. 2d 941, 954 (M.D. Tenn. 2000); Olivia Y. v. Barbour, 351 F.
Supp. 2d 543, 556 (S.D. Miss. 2004) (“plaintiffs' pleading is sufficient to allege a violation of their substantive due
process right to adequate care and treatment while in state custody”); Connor B. v. Patrick, 771 F. Supp. 2d 142, 161
(D. Mass. 2011).




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             ii.       Defendants’ Child Welfare Policies and Practices Violate Plaintiff
                       Children’s Familial Association Rights Under the Constitution

       Defendants incorrectly characterize Plaintiffs’ constitutional right to familial association

as “a vague right”. “The integrity of the family unit has found protection in the Due Process Clause

of the Fourteenth Amendment, the Equal Protection Clause of the Fourteenth Amendment, and the

Ninth Amendment.” Stanley v. Illinois, 405 U.S. 645, 651 (1972) (internal citations omitted).

Accordingly Plaintiffs do not, as Defendants contend, rely on the Ninth Amendment as

“independently” securing plaintiffs’ constitutional rights—making most of the cases and

propositions cited by Defendants inapposite. See ECF No. 18 at 20-21. The Supreme Court has

also held that “certain intimate human relationships must be secured against undue intrusion by

the State” and protected as “a fundamental element of personal liberty”. Roberts v. United States

Jaycees, 468 U.S. 609, 617-18 (1984). Here, Plaintiffs allege that as children in state custody and

care, Plaintiffs’ “intimate human relationships” with their parents, siblings, and other family

members are systematically and improperly intruded upon by Defendants’ policies and practices.

Therefore, Plaintiffs have adequately alleged violations of their right to familial association as

protected by the Constitution.

       Courts have found, precisely in the child welfare context, that “once the state has removed

a child from his or her family, it cannot deliberately and without justification deny that child the

services necessary to facilitate reunification with his or her family, when safe and appropriate,

without violating the child’s right to family integrity”. Kenny A. v. Perdue, 218 F.R.D. 277, 297

(N.D. Ga. 2003) (plaintiffs “state a viable claim by alleging that State Defendants have

systematically failed to facilitate their prompt reunification with their families whenever safe and

appropriate”). This is because “once state officials remove a child from his or her home, they have

a constitutional duty to protect the child from harm,” including the duty to provide “safe and



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appropriate placements and services that…do not unnecessarily interfere with the child’s rights of

family association”. Kenny A. v. Perdue, No. 1:02-cv-1686-MHS, 2004 U.S. Dist. LEXIS 27025,

at *25 (N.D. Ga. Dec. 11, 2004). See also Brian A. by Brooks v. Sundquist, 149 F. Supp. 2d 941,

956 (M.D. Tenn. 2000) (refusing to dismiss foster children’s claim “that Defendants’ systematic

actions and inactions have violated their rights under the First and Ninth Amendments not to be

deprived of family relationships absent compelling reasons”)

        Here, Plaintiffs allege after removing children from their homes and taking them into state

custody and care, thereby forming a “special relationship” with the children, Defendants routinely

intrude upon their right to familial associations. Defendants, for example, regularly place children

in inappropriate institutional settings, where “intimate human relationships” are wholly absent.

ECF No. 1 ¶ 50-51, 63; 108-116; 124-127, 172. Defendants shuffle children through foster

placements without regard for their right to “enter into and maintain” such relationships. ECF No.

1 ¶ 59, 92 142. Defendants unnecessarily separate siblings when making placement decisions, and

do not even arrange for visitation between separated siblings. ECF No 1 ¶ 71-72, 107, 141, 167,

188. Defendants even denied a child the ability to make contact with a dying grandfather. ECF No.

1 ¶ 179. Plaintiffs’ allegations, taken as true, firmly establish Defendants’ continuing violations of

Plaintiffs’ constitutional right to familial association.

        The authorities produced by Defendants themselves confirm the propriety of Plaintiffs’

claims. Defendants note the court’s reluctance, in Marisol, to protect the right to “a particular type

of family life”—a right never asserted by Plaintiffs and thus inapposite. See ECF No. 18 at 21; 929

F. Supp. at 676. But the Marisol court went on to hold that “Plaintiffs’ family integrity claims are

closely related to those pertaining to the duration of foster care and, by extension, fall within the

concept of harm for substantive due process purposes”; plaintiffs had demonstrated that defendants




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“unnecessarily place children in foster care and allow children properly in foster care to languish

without taking steps to reunite them with their biological family where appropriate”, thereby

stating a constitutional claim for “defendants’ failure to provide reasonable services and

placements that protect custodial plaintiffs’ right of association with their biological family

members”. Marisol, 929 F. Supp. at 677.

       Because Plaintiffs have adequately established Defendants’ violation of their constitutional

right to familial association, Defendants’ attempts to dismiss their claim must be denied.




       B.       The Right to an Adequate Case Plan and Case Review System Under the
                AACWA is Individually Enforceable

              i.       Foster Children Have a Private Right of Action Under AACWA
                       Enforceable through 42 U.S.C. § 1983.

       Section 1983 creates a federal remedy against anyone who, under color of state law,

deprives a person “of any rights privileges, or immunities secured by the Constitution and laws.”

42 U.S.C. § 1983. In accordance with the Supreme Court’s holding in Blessings v. Freestone, §

1983 safeguards rights conferred by federal statutes, provided a violation of a federal right is

asserted. 520 U.S. 329, 340 (1997).

       AACWA confers federal rights on Plaintiffs that are privately enforceable under §1983.

AACWA is intended to benefit Plaintiff Children, and, in enacting AACWA, Congress declared

that the purpose of the Act is to “enable [] each State to provide, in appropriate cases, foster care

and transitional independent living programs for children”. 42 U.S.C. § 670; see also Marisol, 929

F. Supp. at 683. Indeed, in addressing the issue of whether AACWA creates privately enforceable

rights by foster children under § 1983, the majority of courts deciding the issue subsequent to the




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holdings of Suter (1992), Blessings (1997), and Gonzaga (2002) found that it does. See D.O. v.

Glisson, 847 F.3d 374, 381 (6th Cir. 2017), cert. denied, 138 S. Ct. 316, 199 L. Ed. 2d 233 (2017).9

The Fourth Circuit recognizes a private right of action under AACWA. See L.J. v. Massinga, 838

F.2d 118, 123 (4th Cir. 1988) (hereinafter “L.J. II”) (holding, after examining the elements of

several sections within AACWA, that “taken together we think that these statutory provisions spell

out a standard of conduct, and as a corollary rights in plaintiffs…th[at] are privately enforceable”).

         Defendants argue the 1988 L.J.II decision does not survive the subsequent holdings in

Suter, Blessing, and Gonzaga, and therefore, does not bind this Court.10 See ECF No. 18 at. 27-

29. However, in 2011, the Fourth Circuit reviewed the merits of the L.J.II holding after Suter,

Blessing, and Gonzaga were decided and held that “the burden of showing that this court’s decision

in L.J. II has been overruled by Suter” that “a private right of action to enforce the relevant

provisions of AACWA” has not been met. L.J v. Wilbon, 633 F.3d 297, 307 (4th 2011).

Accordingly, the Fourth Circuit is bound by the L.J.II decision which recognizes a privately

enforceable right under AACWA.

                ii.        The Blessing Standard for Private Rights of Action is Satisfied.

         A statute provides privately enforceable federal rights that are actionable under § 1983

where Congress “intended to confer individual rights upon a class of beneficiaries.” Gonzaga Univ.

v. Doe, 536 U.S. 273, 285 (2002). In considering whether a statutory provision gives rise to a

federal right, the following factors are considered: (1) Congress must have intended that the



9
  See also Cal. St. Foster Parent Ass'n v. Wagner, 624 F.3d 974, 982 (9th Cir. 2010); Chong v. McManaman, 154 F.
Supp. 3d 1043, 1050 (D. Hawaii 2015); Connor B. v. Patrick, 771 F. Supp. 2d 142, 172 (D. Mass. 2011); C.H. v.
Payne, 683 F. Supp.2d 865, 878 (S.D. Ind. 2010); Missouri Child Care Ass'n v. Martin, 241 F. Supp. 2d 1032, 1042
(W.D. Mo. 2003); but see Midwest Foster Care & Adoption Ass'n v. Kincade, 712 F.3d 1190, 1203 (8th Cir.
2013) (no private right); New York State Citizens' Coal. For Children v. Carrion, 31 F. Supp. 3d 512, 527 (E.D.N.Y.
2014) (no private right); Carson v. Heineman, 240 F.R.D. 456, 541 (D. Neb. 2007) (no private right).
10
   Suter, held that there is no privately enforceable right conferred by §§ 671(a)(9), and 671(a)(15). Plaintiffs here do
not make any claims pursuant to these sections at issue in Suter.


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provision in question benefit the plaintiff; (2) the plaintiff must demonstrate that the right

assertedly protected by the statute is not so vague and amorphous that its enforcement would strain

judicial competence; and (3) the statute must unambiguously impose a binding obligation on the

States. See Blessing, 520 U.S. at 340-41. In addition, Congress must not have expressly or

impliedly specifically foreclosed a remedy under § 1983 “by creating a comprehensive

enforcement scheme that is incompatible with individual enforcement under § 1983.” Id. At 341.



                          1.        Plaintiffs Have a Privately Enforceable Right to Written Case
                                    Plans and a Case Review System with Certain Features.

        Sections 671(a)(16), 675(1), and 675(5) satisfy the first prong of the Blessing test because

their provisions specifically benefit plaintiffs. See, e.g., Sam M., 800 F .Supp. 2d at 387-88 (“the

requirement[] for a case plan with respect to ‘each child’…indicate[s] that the plaintiff children

are the intended beneficiaries of th[is] provision[]”).11 Section 671(a)(16), as defined in § 675,

requires the “development of a case plan…for each child receiving foster care maintenance

payments…and…a case review system which meets the requirements described in section []

675(5)…with respect to each such child.” (emphasis added). This provision communicates a

benefit to “each… child” showing an “unmistakable focus on the benefited class.” Gonzaga Univ.,

536 U.S. at 287. Likewise, § 675 outlines specific case plan guidelines and “concrete requirements

for the content and timing of the case plans and case review systems” including, for example, “the

health and education records of the child”, and documentation of “the reasons why a [specific]



11
   See also Connor B., 771 F. Supp. 2d at 171 (concluding that § 671(a)(16) “discusses how the state must distribute
benefits to each child…[so that] [p]lainly, these directives are…unmistakably focused on the benefitted class, i.e.,
foster children); Henry A. v. Willden, 678 F.3d 991, 1006 (9th Cir. 2012) (“Section 671(a)(16) unambiguously
requires the State to provide for the development of a case plan ‘for each child’”); Kenny A., 218 F.R.D. at 292
(concluding that §§ 675(1) and 675(5) confer privately enforceable rights when §675(1) “defin[es] ‘case plan’ in
terms of documents regarding ‘each child’” and §675(5) “defin[es] ‘case review system’ in terms of procedures
regarding ‘each child’”).


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permanent placement…is [selected]”. L.J. v. Wilbon, 663 F.3d at 310 (finding §§ 671(a)(16),

675(1), and 675(5)(B), contain the “concrete requirements” that were not included in the sections

of AACWA reviewed under Suter). The plan is to ensure the child receives “safe and proper care”

and that services are provided to the parties to facilitate the return of the child to the home or other

permanent placement. See 42 U.S.C. §§ 675(1)(A)-(G).

         Defendants argue Plaintiffs’ dissatisfaction with their foster care outcomes is asking too

much because there is at least the existence of a case plan and a system for case review. See ECF

No. 18 at 26. Defendants’ argument that any case plan or case review system, regardless of its

efficacy, is adequate under the law, must fail. Congress included this section to define the precise

requirements for an adequate case plan and case review system and would not have done so if it

intended them to be illusory. Every Named Plaintiff has experienced multiple failed placements,

has suffered from a lack of necessary services, and has been exposed to trauma while in West

Virginia’s care. Moreover, all of the Named Plaintiffs alleged injuries that naturally occur as a

result of the lack of a case plan or case review. 12

         Defendants further argue that there is no privately enforceable right under § 671(a)(16), §

675(1), and § 675(5) by analogizing the AACWA sections discussed in Suter—specifically, §

671(a)(15) and § 671(a)(9))—to the different AACWA sections under which Plaintiffs bring their

claims. See ECF No. 18 at 24. In 2011, defendants in L.J. made an identical argument, but the

Fourth Circuit found they “failed to establish that Suter forecloses a private plaintiff’s ability to

bring an action pursuant to 42 U.S.C. § 671(a)(16)” and further stated “whether a plaintiff has a




12
  See e.g. ECF No. 1 ¶ 49 (alleging facts in support of the conclusion that Defendants made “no effort” to find
appropriate placement for Plaintiff in proper out-of-home care); ECF No. ¶ 194 (facts alleged in support of
Defendants’ failure to provide efforts to prevent removal); ECF No.¶ 71, 142 - 143 (alleging facts to support case
plan failed to conform to Plaintiffs’ special needs); ECF No. ¶ 72 (alleging facts in support of placement standards
violations); ECF No.¶ 123, 172, 197 (alleging facts in support of complete failure to provide case planning).


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right to bring an action under a particular provision of AACWA requires a section-specific

inquiry.” L.J. v. Wilbon, 633 F.3d at 309; see also Blessing 520 U.S. 320, 342 (1997). 13

         Sections 671(a)(16), 675(1)(A) and 675(1)(B) satisfy the second prong of the Blessing test

because they are neither vague nor amorphous, but rather contain specific criteria necessary for a

state to comply with the statutory requirements therein. See Blessing, 520 U.S. 329, 340-41 (1997).

Courts have found “the requirements needed to form a case plan are fairly specific in that a judge

can determine whether a state plan contains such a [compliant] system” and those rights conferred

are intended to benefit each child in the foster care system. Clark K. v. Guinn, No. 2:06-CV-1068,

20007 U.S. Dist. LEXIS 35232, at *32 (D. Nev. May 9, 2007); see also Sam v. Chafee, 800 F.

Supp. 2d 363, 387-88 (D.R.I. 2011) (finding “neither [its] mandatory character nor the intended

benefit to each child in the foster care system are ambiguous” and “AACWA language with respect

to 671(a)(16)…is explicitly mandatory”). As the Fourth Circuit held in L.J. ex rel Darr v.

Massinga, 838 F.2d 118 (4th Cir. 1988), the case plan along with the case review provisions of the

AACWA “spell out a standard of conduct” and “this requirement is repeated and amplified in 42

U.S.C. § 671 (a)(16).” For example, the case plan must be a written document, must be prepared

within 60 days, and must include a description of the services offered and provided to prevent

removal of the child from the home. Also, the case review system must assure that each child has

a case plan consistent with his special needs, that the child’s case is either judicially or

administratively reviewed at least every six months, and that the child’s parents’ rights are

terminated if the child has remained in foster care for 15 of the most recent 22 months. The




13
  Following the Suter decision, Congress passed a law which provides that simply because a provision of the act is
included in section of the act requiring a State plan or specifying the required contents of a State plan it is “not to be
deemed unenforceable…”, indicating that provisions of AACWA are enforceable. 42 U.S.C. 1320a-10, § 1130A.



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specificity of these mandates renders them not so vague and amorphous such that they run the risk

of straining judicial competence. See Blessings, 520 U.S. at 341.

       Furthermore, §§ 671(a)(16), 675(1)(A) and 675(1)(B) satisfy the third prong of the

Blessing test to unambiguously impose a “binding obligation” on the state. This is clear through

its use of mandatory language and active voice. See Blessings v. Freestone, 520 U.S. 329, 332

(1997); see also D.O. v. Glisson, 847 F.3d 374, 379 (6th Cir. 2017), cert. denied, 2017 WL

2869916 (U.S. Oct. 10, 2017) (stating “laws phrased in the active voice, with the state as the

subject, confer individually enforceable rights.”). As is here, §§ 671(a)(16), 675(1), and 675(5)

state, for example, that “the state shall file a petition to terminate the parental rights”, and “shall

have a [case] plan…for each child”. The use of the word “shall” couches Congress’ requirements

to the State “in mandatory, not precatory terms”. Blessings, 520 U.S. at 341; see also For Special

Needs Trust Admin., v. Olson, 676 F.3d 688, 700 (8th Cir. 2012).

       Finally, AACWA does not contain an express exclusion of a remedy under § 1983. Nor

has Congress implicitly foreclosed a remedy. Further, there is no comprehensive scheme that

would be incompatible with individual enforcement. In fact, following the holding in Suter,

Congress passed a law to clarify their position that “a provision of the Social Security Act…is not

to be deemed unenforceable because of its inclusion in a section of the Act requiring a State plan”

indicating congressional intent to provide individual enforcement, which Congress felt may have

been misinterpreted by the Suter Court. See supra Footnote 14.

                       2.      Plaintiffs Have a Privately Enforceable Right to Foster
                               Placements that Conform to Nationally Recommended
                               Professional Standards.

       Section 671(a)(10) of AACWA requires that “foster family homes and child care

institutions” be “reasonably in accord with recommended standards of national organizations




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concerned with the standards for the institutions or homes”. 42 U.S.C. § 671(a)(10). Moreover,

foster family homes must meet “standards relating to admission policies, safety, sanitation, and

protection of civil rights”. 42 U.S.C. § 671(a)(10)(A).

       Section 671(a)(10) satisfies the Blessing test. The text clearly supports the conclusion that

this section is intended to protect individual children in foster care. Indeed, § 671(a)(10) provides

for the safety, cleanliness, and protection of civil rights, not to be waived except on a “case-by-

case basis…for specific children”. 42 U.S.C. § 671(a)(10)(D). Also, the requirement that states

“shall be responsible for establishing and maintaining standards for foster family homes and child

care institutions which are reasonably in accord with recommended standards of national

organizations” satisfies the final two prongs of the Blessing test. See Blessing 520 U.S. at 332. It

is not so vague and amorphous that it is beyond the competence of the judiciary to determine when

a state is non-compliant with the statutory requirements as they are directed to make a compliance

determination based on the “recommended standards of national organizations”. 42 U.S.C. §

671(a)(10)(A). Furthermore, by use of the word “shall”, see supra Section C.ii.2, Congress makes

clear that this is a “binding obligation”. Blessings, 520 U.S. at 341.

       Defendants argue that the reference to ‘recommended standards of national organizations’

renders this section fatally vague by likening it to § 671(a)(15)’s “reasonable efforts” standard,

which was declared privately unenforceable in Suter. But the criteria provided in § 671(a)(10) goes

far beyond a formless “reasonable efforts” standard. First, Congress dictates which “national

organizations” should be looked to for compliance standards. Second, Congress qualifies the

resulting selection by allowing only those national organizations “which shall permit use of the

reasonable and prudent parenting standard”. 42 U.S.C. § 671(a)(10)(A). There are two major

standard-setting organizations in operation, the Child Welfare League of America and the Council




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on Accreditation. Recommendations by these organizations are made by well-researched experts,

after expansive, relevant data has been carefully considered and analyzed.

        Because the specific criteria produces only a very limited number of highly specialized

“national organizations” to reference for compliance standards, § 671(a)(10) is neither vague nor

amorphous.

                          3.       Plaintiff Children Sufficiently Allege that They are Beneficiaries
                                   of the Cited Provisions.

        Defendants also argue that because less than all putative class members are entitled to

relief, the AACWA claims must be dismissed. However, this is not an appropriate consideration

in a 12(b)(6) motion because it asks the court to make a factual finding. See, e.g., EEOC v. Alford,

142 F.R.D. 283, 288 (E.D. Va., 1992).

        Nevertheless, Defendants’ argument that the state’s Title IV-E penetration rate accurately

reflects the number of children eligible for the protections of the federal statute is wrong. ECF No.

18 at 30. Defendants overlook the fact that a controlling factor in determining a state’s penetration

rate is the state’s ability to properly assesses, categorize, and track children in their child welfare

system and to submit a timely application for reimbursement of Title IV-E funding. Generally, a

dysfunctional child welfare system, as Plaintiffs allege is the case in West Virginia, poorly

maintains data and lacks a sophisticated data system—two critical elements for a state to obtain

Title IV-E funding.14 Accordingly, the level of funding is not an accurate gauge of how many

children are Title IV-E eligible and to whom Congress intended to extend protection. Further,

Defendant’s argument invites the court into a data-intensive line of inquiry, which is not

appropriate at the pleading stage.


14
  (ECF No. 1 ¶273 (an outside entity called A Second Chance, Inc. after conducting an assessment on Defendant’s
kinship program found that their data system is lacking and “lacks data to support key decisions.”); ECF No. 1 ¶
235; ECF No. 1 ¶ 345.


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         C.       Plaintiffs Have Sufficiently Alleged that Defendants’ Systematic Failures
                  Violate the ADA and Rehabilitation Act

         Title II of the ADA and Section 504 of the Rehabilitation Act forbid child welfare agencies

from discriminating against children with disabilities.15 As alleged in Plaintiffs’ Complaint,

Defendants routinely deny children with disabilities in their care and custody the services,

treatment, and placements to which they are entitled under federal law. Defendants’ Motion to

Dismiss misunderstands both Plaintiffs’ factual allegations and Defendants’ own obligations under

federal law.

                  i.       Plaintiffs’ Complaint Sufficiently Alleges                          Facts       Showing
                           Discrimination on the Basis of Disability.

         To state a claim for a violation of the ADA or the Rehabilitation Act, a plaintiff “must

allege that (1) she has a disability, (2) she is otherwise qualified to receive the benefits of a public

service, program, or activity, and (3) she was excluded from participation in or denied the benefits

of such service, program, or activity, or otherwise discriminated against, on the basis of her

disability.” Constantine v. Rectors & Visitors of George Mason Univ., 411 F.3d 474, 498 (4th Cir.

2005). Plaintiffs allege that members of the ADA Subclass—all of whom have a disability, and

are otherwise qualified to receive all child welfare services, programs, and activities, including

assessments, case planning and service planning, and foster care—are nevertheless excluded from

participation in or denied the benefits of those services, programs, and activities. Courts across the

country have refused to dismiss similar allegations under the ADA and Rehabilitation Act brought

by foster children with disabilities.16


15
  42 U.S.C. § 12132; 29 U.S.C. § 794.
16
  See, e.g. Marisol A. by Forbes v. Giuliani, 929 F. Supp. 662, 685 (S.D.N.Y. 1996) (denying defendants’ motion to
dismiss plaintiff’s ADA and Rehabilitation claims because “a disabled individual is entitled to meaningful access to
the benefits and services provided by a public agency or an agency receiving federal funds”, and “the agency’s
failure to provide meaningful access to child welfare services is evident”; the child welfare agency “failed to assess
promptly [plaintiff’s] medical status, transferred him from one inappropriate placement to another including a group
home that lacked the medical staff needed to monitor his condition”, and provided case-planning inconsistent with


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         Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581 (1999) is the guiding force of disability law

and, contrary to Defendants’ assertions, applicable here. Olmstead requires the provision of

services, including a child’s placement, in the most integrated setting appropriate to the child’s

needs. Id.; 28 C.F.R. § 35.130(d). The Fourth Circuit similarly prohibits unjustifiably

institutionalizing individuals with disabilities or putting them at the risk thereof. See, e.g., Pashby

v. Delia, 709 F.3d 307, 321-22 (4th Cir. 2013); see also, M.J., et al. v. District of Columbia, No.

1:18-cv-1901, 2019 U.S. Dist. LEXIS 124108, at *20 (D.D.C. July 25, 2019) (Olmstead claim

where plaintiffs allege “that because defendants have failed to provide required services in their

homes, or in the community, they are unnecessarily institutionalized”). This mandate extends to

all government services. See Lane v. Kitzhaber, 841 F. Supp. 2d 1199, 1205 (D. Or. 2012).

         Defendants suggest the integration mandate is somehow in conflict with the “best interest”

standard utilized in West Virginia circuit courts, and assert the integration mandate “should not be

interpreted” to “trump” that standard. See ECF No. 18 at 33. Defendants are wrong. Discrimination

on the basis of disability and unnecessary institutionalization cannot be in a child’s “best interest”.

To the extent Defendants argue they do not administer services, programs, and activities in the

most integrated setting, as required by 28 C.F.R. § 35.1.130(d) and Olmstead, they admit to

violating federal law.

         Defendants also appear to argue that they do not discriminate against children with

disabilities because the system as a whole, as it relates to all foster children, lacks the full array of

necessary community-based services and placements. But Defendants misconstrue the ADA’s

requirements. While Defendants’ failure to provide adequate services harms all foster children,



his medical needs, “rais[ing] serious questions as to whether [the child welfare agency] has fulfilled even its most
fundamental obligation to provide meaningful access as required by the ADA and the Rehabilitation Act.” Id.



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children with disabilities are disproportionately affected by a lack of adequate resources, especially

a deficit in disability-specific services. Defendants’ argument, moreover, was squarely rejected by

the Supreme Court: an ADA integration mandate claim need not demonstrate “similarly situated

individuals” without disabilities are “given preferential treatment.” Olmstead, 527 U.S. at 598.

“Congress had a…comprehensive view of the concept of discrimination advanced in the ADA,”

and intended not only to “require[] all public entities to refrain from discrimination,” but also to

thwart “unjustified ‘segregation’ of persons with disabilities.” Id. at 600.

        Taking Plaintiffs’ factual allegations as true, Plaintiffs have demonstrated that Defendants’

disproportionally place disabled foster children in institutional settings, converted detention cells,

isolated out-of-state placements, and otherwise in less integrated settings, when, with adequate

services and supports in the community, they could often avoid such restrictive placements.

Moreover, Defendants’ suggestion that “Plaintiff (or Plaintiff’s Guardian ad Litem) may raise that

issue in state circuit court”, ECF No. 18 at 33, completely misunderstands the thrust of Plaintiffs’

allegations: that Defendants so systematically violate the ADA and Rehabilitation Act that an

individual West Virginia child with disabilities cannot “raise that issue” in state circuit court.

                ii.     Defendants’ Legal Argument is Inconsistent with Federal Guidance
                        and Established Federal Law Requiring More than Mere Equal
                        Treatment.

        Defendants next seek dismissal of Plaintiffs’ ADA claims by arguing they are not required

to provide a certain level of benefits to foster children with disabilities, create settings that do not

exist, or provide new benefits. See ECF No. 18 at 32-33. However, the ADA requires provision of

auxiliary services to ensure a person can benefit from existing services, short of a demand for a

“substantial benefit.” U.S. Dep’t of Justice, ADA Title II Technical Assistance Manual, at II-3.4000

(“Separate programs are permitted where necessary to ensure equal opportunity.”), available at




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https://www.ada.gov/taman2.html; Am. Council of the Blind v. Paulson, 525 F.3d 1256, 1268

(D.C. Cir. 2008) (blind litigants did not seek “substantively different benefit than is already

provided by the U.S. currency system” by requesting the alteration of currency’s size, color, and

texture). In other words, courts distinguish between accommodations to access existing services—

which is required by the ADA—and additional services that create separate programs for the sole

purpose of eliminating general disparities inherent in disability status.

       When considering whether an ADA litigant demands prohibited “additional services” or

permissible accommodations, courts should broadly construe the existing service. See Townsend

v. Quasim, 328 F.3d 511, 517 (9th Cir. 2003) (reversing district court’s narrow definition of state

services); Am. Council of the Blind, 525 F.3d at 1268 (nature of public service was the program of

currency and “engag[ing] in economic activity” generally). And courts frequently require state

authorities to provide accommodations that do not currently exist. See Townsend, 328 F.3d at 517.

       Here, Plaintiffs request appropriate mental health services and disability supports within

the foster care system, because those services are necessary to ensure full access to the benefits of

the foster care system. See ECF No. 1 at ¶ 318-327. West Virginia is responsible for providing

needed medical and mental health care to all foster children, with and without disabilities. The

ADA requires the state to provide those services in a manner that enables foster youth with

disabilities to participate in, and enjoy the full benefits of, the child welfare system generally.

       Defendants unpersuasively claim that West Virginia does not have any “unjustified”

institutional placements, because the circuit courts approve each placement. ECF No. 18 at 33-34.

But it is Defendants, not the judiciary, who are responsible for developing a sufficient array of

placements and community-based services to comply with federal law, as well as for selecting

where to place a child—all of which Defendants have systematically failed to do for disabled




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youth. As the USDOJ concluded, the “default service in West Virginia is institutionalization”, with

Defendants “needlessly segregat[ing] thousands of children far from families and other people

important in their lives” even though DHHR could have treated those children in their

communities. ECF No. 1 ¶¶ 352-53.

         Finally, Defendants’ recent efforts do not absolve them of liability under the ADA and

Rehabilitation Act. Defendants toy with case law and language, declaring that “a plan” to remedy

the state’s discrimination against disabled foster children is enough. But Olmstead held that “[i]f,

for example, the State were to demonstrate that it had a comprehensive, effectively working plan

for placing qualified persons with mental disabilities in less restrictive settings, and a waiting list

that moved at a reasonable pace…the reasonable-modification standard would be met.”

Olmstead, 527 U.S. at 597-98 (emphasis added).17 The Supreme Court was not referring to just

any plan—but rather to a plan that is working, which Defendants lack.

         In any event, Defendants make factual arguments regarding the state’s Child and Family

Services Plan, citing House Bill 2010 and the Memorandum of Understanding the state entered

into with the USDOJ in 2019. But, as Plaintiffs’ assert in their Complaint, these efforts fall flat.18




17
    Notably, Martin v. Taft, an Ohio district court decision cited by Defendants, which is not controlling law, stated
that “[i]f the defendant fits this example, it has essentially proven that it has already reasonably accommodated the
plaintiffs’ request for participation in a community-based program.” 222 F. Supp. 2d 940, 984 (S.D. Ohio 2002)
(finding that plaintiffs adequately pled the availability of a reasonable accommodation); compare with ECF No. 18
at 34 (“If the defendant [has a plan to move individuals to a less restrictive setting], it has essentially proven that it
has already reasonably accommodated the plaintiff’s request….”).
18
   See ECF No. 1 ¶ 358 (“The MOU is limited in scope and unlikely to be successfully implemented….it covers only
children…who have a serious emotional or behavioral disorder or disturbance that results in a functional
impairment,” and who are placed in a residential facility or “reasonably may be expected” to be placed in such a
facility. The MOU fails to capture the pressing needs of a significant portion of foster children who…are in need of
mental health services.”); ¶ 361 (“But the goals in the [MOU] modestly call for a 25 percent reduction of the
…number of children in out-of-state placement” and “it does not explicitly require West Virginia to reduce the
number of children placed into in-state residential treatment facilities…. Lastly, the MOUS is self-enforcing and
there is little to no oversight.”); ¶ 365 (noting House Bill 2010’s managed care provision “was met with strong
opposition by organized foster family groups, child welfare advocates, and other stakeholders…. Their chief concern
was that medically vulnerable groups, such as foster children who often have multiple diagnoses…are notoriously
underserved by private managed care systems with profit motives.”).


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Plaintiffs do not ask the Court to “overrule DOJ’s decision that the [Memorandum of

Understanding] suffices to remedy the noncompliance” with the ADA. See ECF No. 18 at 37.

Plaintiffs allege that agreement does not go far enough. Plaintiffs have sufficiently alleged

discrimination on the basis of disability, and, at the very least, Defendants have pointed to disputed

facts regarding the impact of the recent attempts to reform the foster care system, which are not

proper grounds to warrant dismissal at this stage of the pleading.



                                          CONCLUSION

          For the foregoing reasons, this Court should deny Defendants’ Motion to Dismiss in its

entirety and allow Plaintiffs’ constitutional and statutory claims to proceed to resolution on their

merits.

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                                                      Respectfully submitted,


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